                                                      Entered on Docket
                                                      November 07, 2011
                                                      GLORIA L. FRANKLIN, CLERK
                                                      U.S BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA


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6                            UNITED STATES BANKRUPTCY COURT
7                            NORTHERN DISTRICT OF CALIFORNIA
8                                             Santa Rosa Division
9      In re:
10                                                            Case No. 10-13868-AJ
       JEFFREY KNAPP WINN Debtor.                             Chapter 11
11
12     BAY COMMERCIAL BANK Plaintiff                          Adv. Pro. No. 10-1205

13              vs.
                                                              STIPULATED JUDGMENT
14
                      JEFFREY KNAPP WINN,
15                         Defendant.
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20          Plaintiff/Creditor BAY COMMERICAL BANK, (“Plaintiff”) and Defendant/Debtor

21 JEFFREY KNAPP WINN, (“Defendant”) (collectively, the “Parties”) having stipulated to the

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     amount of Plaintiff’s unsecured claim and entry of Judgment in the above-captioned Adversary
23
     Proceeding No. 10-1205, the Court having approved the Stipulation and compromise of controversy by
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25 order entered on September 26, 2011 in the above-captioned Chapter 11 Case No. 10-13868-AJ, and
26 good cause appearing, Judgment is hereby entered as follows:
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            1. Plaintiff shall have judgment against Defendant in the amount of One-Hundred And
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     Stipulated Judgment
                                                          1
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1           Seventy-Five Thousand Dollars ($175,000.00), plus post-judgment interest rate of 00.19
2           percent (00.19%).
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4        2. This Judgment shall be non-dischargeable pursuant to 11 U.S.C. §523.

5 IT IS THE JUDGMENT OF THE COURT.

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  Dated: November 7, 2011
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                                                S
                                                                                                                           
                                                   Alan Jaroslovsky
                                                   United States Bankruptcy Judge



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   __________________________________________________________________________________
28 Stipulated Judgment
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